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 4
                            UNITED STATES DISTRICT COURT
 5                         EASTERN DISTRICT OF WASHINGTON

 6
     UNITED STATES OF AMERICA,              )
 7                                          )
                         Plaintiff,         )    CR-08-026-FVS-2
 8                                          )
          vs.                               )    ORDER GRANTING
 9                                          )    UNOPPOSED MOTIONS
     FRAN OGREN,                            )
10                                          )
                         Defendant.         )
11                                          )

12         The court has reviewed Defendant Fran Ogren’s Motions to

13   Modify Release Conditions.

14         IT IS ORDERED, for good cause shown, that the Defendant’s

15   Motions to Modify Release (Ct. Rec. 141, 143) are GRANTED.
16         Ms. Ogren shall be permitted to travel to Missoula, Montana,
17   September 18-21, 2008, and return to Northport, Washington, on
18   September 22, 2008, at 10:00 p.m.; and to travel to Canby, Oregon,
19   September 24-29, 2008, and return to Northport, Washington, on
20   September 29, 2008 by 11:00 p.m.
21         DATED September 17, 2008.
22

23                              S/ CYNTHIA IMBROGNO
                           UNITED STATES MAGISTRATE JUDGE
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     Order Granting Unopposed Motions - 1
